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     EXHIBIT F
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

MELODY JOY CANTU and                           §
DR. RODRIGO CANTU,                             §
Plaintiffs                                     §
                                               §
                                               § CASE NO.: 5:20-CV-00746-JKP (HJB)
                                               §
V.                                             §
                                               §
DR. SANDRA GUERRA and                          §
DIGITAL FORENSICS CORPORATION,                 §
LLC                                            §
Defendants                                     §

           DEFENDANT, DR. SANDRA GUERRA’S SECOND REQUEST FOR
               PRODUCTION TO PLAINTIFF, DR. RODRIGO CANTU

TO:    DR. RODRIGO CANTU, by and through his counsel of record, Tor Ekeland, Pro Hac
       Vice, Email: tor@torekeland.com, Michael Hassard, Email: hassard.mike@gmail.com,
       TOR EKELAND LAW, PLLC, 30 Wall Street, 8th Floor, New York, NY 10005, and Rain
       Levy Minns, Email: rain@rainminnslaw.com, MINNS LAW FIRM, P.C., D/B/A RAIN MINNS
       LAW FIRM, 4412 Spicewood Springs Rd., Suite 500, Austin, Texas 78759-8583.

       NOW COMES, Defendant, DR. SANDRA GUERRA, and serves this her Second Request

for Production on Plaintiff, DR. RODRIGO CANTU, pursuant to Federal Rules of Civil Procedure

34 and 69, that you produce or permit the undersigned attorney to inspect and copy the documents

and tangible things below which are in your possession, custody or control.
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Date: August 15, 2022.       Respectfully submitted,



                             McCombs Plaza, Suite 500
                             755 E. Mulberry Avenue
                             San Antonio, Texas 78212
                             Telephone No.: (210) 822-6666
                             Telecopier No.: (210) 822-1151

                             By: /s/ Brandy C. Peery
                                    BRANDY C. PEERY
                                    State Bar No. 24057666
                                    Email: bpeery@lawdcm.com
                                    RICARDO G. CEDILLO
                                    Texas State Bar No. 04043600
                                    Email: rcedillo@lawdcm.com

                             ATTORNEYS FOR DEFENDANT, DR. SANDRA
                             GUERRA




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                                 CERTIFICATE OF SERVICE

       I certify that on this 15th day of August 2022, a true and correct copy of the foregoing was
served upon all counsel of record in accordance with the Federal Rules of Civil Procedure.


                                              /s/Brandy C. Peery
                                             BRANDY C. PEERY




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                            DEFINITIONS AND INSTRUCTIONS

As used herein, the following terms shall have the meaning indicated below:

 1.   “Person” means natural persons, general partnerships, limited partnerships, joint ventures,
      associations, corporations, governmental agencies (whether federal, state or local or any
      agency of the government of a foreign county), departmental units or subdivisions thereof,
      and any other form of business entity or association, as the case maybe.

 2.   The terms “document” and “documents” mean all documents and tangible things, in the
      broadest sense allowed under the Federal Rules of Civil Procedure, and include, but are not
      limited to, any writings, drawings, graphs, charts, photographs, phonograph records, tape
      recordings, notes, diaries, calendars, checkbooks, books, papers, accounts, electronic or
      videotape recordings, and any computer-generated, computer-stored, or electronically stored
      information that constitute or contain matters relevant to the subject matter of this lawsuit.
      The terms “document” and “documents” include responsive data or information that exists
      in electronic or magnetic form, and such responsive data should be produced on a CD, DVD,
      or other electronic form.

 3.   "Document" also includes electronically stored information – including, without limitation,
      writings, drawings, graphs, charts, photographs, text messages, emails,, image files (e.g.,
      .tiff and .pdf images)sound recordings, images, and other data or data compilations - stored
      in any medium from which information can be obtained either directly or, if necessary, after
      translation by the responding party.

 4.   As used in these Requests for Production, a request for "electronically stored information"
      or documents "in electronic form" calls upon You to produce such information, without
      deletion or alteration of meta-data, in its native form, and to indicate the computer hardware
      and software program(s) needed to translate the information into usable form in the
      information's native format.

 5.   You are to produce all documents, as defined above, that are in Your possession, control or
      custody or in the possession, control or custody of any attorney for You. Without limiting
      the term “control,” a document is deemed to be within Your control if You have ownership,
      possession or custody of the document, or the right to secure the document or copy thereof
      from any person or public or private entity having physical possession thereof. This includes
      documents in the possession of Your attorneys, accountants, advisors or other persons
      directly or indirectly employed by or connected with You, or Your attorneys, and/or anyone
      else otherwise subject to Your control.

 6.   Each document produced should be specifically identified with the specific request made
      herein and should be produced in a form which renders the document susceptible to copying.

 7.   All duplicates or copies of documents are to be provided to the extent they have handwriting,
      additions, or deletions of any kind different from the original document being produced.

 8.   The term “and/or,” “or,” and “and” are used inclusively, not exclusively.

 9.   Wherever the words “evidencing,” “reflecting,” “relating,” “demonstrating,” “pertaining to”
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      and/or “concerning” appear herein, the meaning intended shall include: directly or indirectly
      referring to, related to, relating to, alluding to, having any relationship to, pertaining to,
      comprising, evidencing, constituting evidence of, connected with, commenting on,
      regarding, discussing, mentioning, analyzing, constituting, showing, referring in any way to,
      embodying in whole or in part, or being relevant to that subject matter, and is meant to
      include, among other documents, documents underlying, supporting, now or previously
      attached or appended to, and/or used in the preparation of any document called for by the
      Request.

10.   Use of the singular shall be taken to include the plural and vice-versa.

11.   The term “communication” refers to any transfer of information, oral or written, be it in the
      form of facts, ideas, inquiries, opinions or otherwise, by any means, at any time or place,
      under any circumstances, and is not limited to transfers between persons, but includes other
      transfers, such as records and memoranda to the file.

12.   If you object to any Request for Production or any portion of any Request for Production on
      the ground that it would constitute an undue burden to respond, respond to the Request as
      fully as possible without undertaking an undue burden and identify all reasons it would
      constitute an undue burden to respond fully and completely.

13.   If you object to any Request for Production or any portion of any Request for Production on
      the ground that it is vague, ambiguous, and/or indefinite, set forth Your understanding of the
      allegedly vague, ambiguous, and/or indefinite term(s) and respond to the Interrogatory based
      upon such stated understanding(s).

14.   If any request cannot be complied with in full, it should be complied with to the extent
      possible and an explanation provided as to why full compliance is not possible.

15.   If any claim of privilege is asserted as to any requested documents (or any portion thereof),
      you shall furnish in lieu of any documents withheld, a schedule or log which specifically
      describes the information or materials withheld and states the specific privilege for each item
      or group of items withheld. All segregable portions of any document, as to which no claim
      of privilege is being asserted, should be produced in redacted form, clearly identifying the
      portion redacted and the basis for the redaction.

16.   If you assert that any document requested herein is privileged, provide the following
      information with respect to each such document:

           (a) its date;
           (b) its author;
           (c) all addressees or recipients of the original or copies thereof, including blind
           copies;
           (d) a brief description of its subject matter, number of pages, and attachments or
           appendices;
           (e) all persons to whom the document was distributed, shown or explained;
           (f) its present custodian; and
           (g) the nature of the privilege claimed.
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17. “Identity” or “Identify” or “Identification”:

           (a) When used in reference to a natural person, "identity," "identify," or "identification"
               means to state his or her full name and present or last known address and present
               employer, specifying in each instance the title or position and the dates so held.

           (b) When used with respect to document, "identity," "identify," or "identification"
               means to state the date, subject and substance, author, all recipients, type of
               document (e.g., letter, telegraph, memorandum, computer printout, sound
               reproduction, chart, etc.), its present location and the identity of its present
               custodian. This shall include documents with respect to which a privilege is or may
               be claimed, if such document was, but no longer is, in Your possession or subject
               to Your control, state whether (a) it is missing or lost; (b) has been destroyed; (c)
               has been transferred voluntarily to others; or ( d) otherwise disposed of. In each
               such instance explain the circumstances surrounding an authorization for such
               disposition.

           (c) When used in respect to an occasion, event, meeting or conversation, "identity,"
               "identify," or "identification" means to state the date, place, duration and persons
               attending or participating.

18.   In the event that any document called for by this Request has been discarded or destroyed,
      placed beyond Your control or otherwise disposed of, that document shall be identified as
      follows: (a) preparer(s); (b) addressee(s); (c) recipient(s) of indicated or blind copies; (d)
      date; (e) type of document; (f) subject matter; (g) number of pages; (h) number and identity
      of attachments or appendices; (i) all persons to whom distributed, shown or explained; (j)
      date of disposal or destruction; (k) reason for disposal or destruction; (l) person(s) authorizing
      disposal or destruction; and (m) person(s) discarding or destroying the document.

19.   To the extent You withhold any documents responsive to these requests, Defendant hereby
      requests that You identify the information and material being withheld as required pursuant
      to the Federal Rules of Civil Procedure.

20.   “You” and “Your” mean Plaintiff, DR. RODRIGO CANTU, including his attorneys, agents,
      employees, representatives and any other person or entity acting on or for her behalf,
      including without limitation, Tor Ekland and any attorneys, paralegals, legal assistants,
      contractors, or consultants of the employees, of .

21.   “CFAA Claims” means Plaintiffs’ causes of action one (1) through (8) set forth in paragraphs
      54-92 of Plaintiffs’ First Amended Complaint [Doc. 3] and cause of action twelve (12) set
      forth in paragraphs 109-111 of Plaintiffs’ First Amended Complaint.

22.   “Texas Statutory Claims” means Plaintiffs’ causes of action nine (9) through eleven (11) set
      forth in paragraphs 93-108 of Plaintiffs’ First Amended Complaint [Doc. 3].




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                                      PERIOD OF TIME

        Unless a specific date or dates is set forth in any specific interrogatory herein, you are
directed that each question shall be answered for the period of time beginning on March 25, 2009
up to and including the present date.




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                    SECOND REQUESTS FOR PRODUCTION TO
                       PLAINTIFF, DR. RODRIGO CANTU


35. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from Digital Forensics Corporation, LLC (“DFC”) in connection with the CFAA
    Claims you have asserted against DFC.


36. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from Dr. Guerra in connection with the Texas Statutory Claims you have asserted
    against Dr. Guerra.

37. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from DFC in connection with the Texas Statutory Claims you have asserted against
    DFC.

38. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from Dr. Guerra in connection with the malicious prosecution claim you have
    asserted against Dr. Guerra.

39. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from DFC in connection with the malicious prosecution claim you have asserted
    against DFC.

40. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from Dr. Guerra in connection with the intentional infliction of emotional distress
    claim you have asserted against Dr. Guerra.

41. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from DFC in connection with the intentional infliction of emotional distress claim
    you have asserted against DFC.

42. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from Dr. Guerra in connection with the CFAA Claims you have asserted against Dr.
    Guerra.

43. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from DFC in connection with the CFAA Claims you have asserted against DFC.

44. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from Dr. Guerra in connection with the Texas Statutory Claims you have asserted
    against Dr. Guerra.

45. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from DFC in connection with the Texas Statutory Claims you have asserted against
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   DFC.

46. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from Dr. Guerra in connection with the malicious prosecution claim you have
    asserted against Dr. Guerra.

47. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from DFC in connection with the malicious prosecution claim you have asserted
    against DFC.

48. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from Dr. Guerra in connection with the intentional infliction of emotional distress
    claim you have asserted against Dr. Guerra.

49. All receipts, invoices, and documents evidencing the consequential damages you seek to
    recover from DFC in connection with the intentional infliction of emotional distress claim
    you have asserted against DFC.

50. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from Dr. Guerra in connection with the CFAA Claims you have asserted against Dr. Guerra.

51. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from DFC in connection with the CFAA Claims you have asserted against DFC.

52. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from Dr. Guerra in connection with the Texas Statutory Claims you have asserted against
    Dr. Guerra.

53. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from DFC in connection with the Texas Statutory Claims you have asserted against DFC.

54. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from Dr. Guerra in connection with the malicious prosecution claim you have asserted
    against Dr. Guerra.

55. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from DFC in connection with the malicious prosecution claim you have asserted against
    DFC.

56. All receipts, invoices, and documents evidencing the punitive damages you seek to recover
    from Dr. Guerra in connection with the intentional infliction of emotional distress claim you
    have asserted against Dr. Guerra.

57. All receipts, invoices, and documents evidencing the compensatory damages you seek to
    recover from DFC in connection with the intentional infliction of emotional distress claim
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   you have asserted against DFC.

58. All receipts, invoices, and documents evidencing the costs and damages identified in Section
    3 of Plaintiffs’ Initial Required Disclosures served on December 1, 2020.

59. All medical records pertaining to the treatment you received from Dr. John Seals which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

60. All billing records pertaining to the treatment you received from Dr. John Seals which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

61. All medical records pertaining to the treatment you received from Steve Cervantes which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

62. All billing records pertaining to the treatment you received from Steve Cervantes which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

63. All medical records pertaining to the treatment you received from Randolph A. Pollock, MA,
    LPC which is referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served
    on December 1, 2020.

64. All billing records pertaining to the treatment you received from Randolph A. Pollock, MA,
    LPC which is referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served
    on December 1, 2020.

65. All medical records pertaining to the treatment you received from Dr. Joann Murphy which
    is referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on
    December 1, 2020.

66. All medical records pertaining to the treatment you received from Deena Trevino which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

67. All medical records pertaining to the treatment you received from Christine Hefel which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

68. All billing records pertaining to the treatment you received from Christine Hefel which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

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69. All billing records pertaining to the treatment you received from Deena Trevino which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

70. All billing records pertaining to the treatment you received from Dr. Joann Murphy which is
    referenced in Section 1 and 3 of Plaintiffs’ Initial Required Disclosures served on December
    1, 2020.

71. All receipts, invoices, and documents evidencing your claim in Section 3 of Plaintiffs’ Initial
    Required Disclosures that you incurred approximately $50,000 in fees, taxes, and penalties
    for withdrawing the money from your and/or Melody Joy Cantu’s retirement funds in order
    to pay Plaintiffs’ attorneys’ fees as a result of Defendants’ conduct.


72. Copies of all the photographs and emails referenced in Melody Joy Cantu’s deposition
    testimony below that she testified you and/or Melody Joy Cantu saved:




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